Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.26 Filed 03/16/22 Page 1 of 56 Do

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

NORTHERN DIVISION ) -OULY

Case No. 2:07-cr-193

 

WILLIE G. POWELL,

Defendant,
DEFENDANT'S MOTION AND
MEMORANDUM IN SUPPORT

TO MODIFY SENTENCE OF

IMPRISONMENT

Ve
UNITED STATES OF AMERICA,

Plaintiff.

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Through and by pro se representation, the defendant Willie G.
Powell (hereinafter "Powell") requests the court modify his sentence
under Title 18 U.S.C. § 3582(c), in recognition of the "extraordinary
and compelling circumstances" that arise at the intersection of
COVID-19, and being convicted of a firearm offense which is not co-
dified as a f ederal ofense. Pursuant to the provision under Title
18 U.S.C. § 3582(c), Powell seeks a reduction in his sentence to
time-served. In support, Powell provides the following.

Background

On October 3, 2007, Powell pled guilty in the United States Dis-
trict Court for the Southern District of Ohio to: (1) possession with
intent to distribute over five kilograms of cocaine, in violation of
Title 21 U.S.C. §§$841(a)(1) and (b)(1)(A)(ii), and (2) possessing a
firearm in furtherance of a drug-trafficking crime, in violation of
Title 18 U.S.C. §924(c)(1)(A). On April 10, 2008, Powell was sen-
tenced to a [consecutive] sentence of 235-months in prison for the
possession-of-a-firearm-during-a-drug-trafficking-crime conviction,
to be served consecutively to his prison term for possession with
intent to distribute cocaine with Count 1 in 2:07-cr-193; Eastern

District of Michigan, Northern Division.
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.27 Filed 03/16/22 Page 2 of 56

Legal Authority

Under § 3582(c), federal district courts are authorized to mo-
dify a sentence of imprisonment under specified circumstances, in-
cluding situations where “extraordinary and compelling reasons war-
rant" the action. § 3582(c)(1)(A)(i). With the enactment of the
First Step Act ("FSA") in December 2018, a § 3582(c) motion may be
brought by either the BOP or the defendant who is subject to the sen-

tence of imprisonment. Pub. L. No. 115-391, §603 (Dec. 21, 2018).

Nre-

If the motion is granted, the district court is authorized to
duce the term of imprisonment." § 3582(c)(1)(A)(i). Id.

This is the relief that Powell seeks, the reduction of his sen-
tence. To determine whether the requested relief is permissible and
appropriate under § 3582(c), the statutue directs the Court to: (A)
consider the statutory scheme to determine the proper legal standard,
and (B) apply that standard to the particularized facts and circum-
stances at hand.

The current version of § 3582(c) is novel in structure and still
quite new, such that courts continue to parse its nuances. Particu-
larly now, as a number of federal prisoners seek § 3582(c) modifica-
tions. The statutory scheme and the analysis of most courts tends
to focus upon these factors: (1) whether the movant-prisoner complied
with the 30-day waiting period within the meaning of § 3582(c); (2)
whether the circumstances demonstrate an extraordinary and compelling
reason; and (3) whether the broader factors that inform federal sen-
tencing decisions support a modification.

In the case of a prisoner-initiated motion, § 3582(c) calls for
a rather unusual administrative exhaustion process, permitting con-
sideration of the motion when:

(a). the defendant has fully exhausted all administrative

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.28 Filed 03/16/22 Page 3 of 56

rights to appeal a failure of the Bureau of Prisons
to bring a motion on the defendant's behalf;

or

(b). the lapse of 30 days from the receipt of such a
request by the Warden of the defendant's facility,
whichever is earlier.

§ 3582(c)(1)(A) (headings, emphases, and formatting added).

Hence, the statute requires the prisoner-movant to first use
administrative processes to request that the BOP make a § 3582(c)
motion on his behalf. And under the second prong of the exhaustion
requirement, simply wait until 30 days pass after the initial request
is made, regardless of administrative appeals or even whether the
BOP took any action on the request at all. See United States v.
Jones, 980 F.3d F.3d 1098, 1100, 1105 (6th Cir. 2020).

(A). Powell Exhausted the BOP Processes Under § 3582(c)

Powell initiated BOP processes on 12 /2/ /2022, requesting
the Warden at FCI-Sandstone file a motion with the court requesting a
sentence reduction as a result of COVID-19, illegal conviction, and
unduly harsh and punitive conditions as a_ result of the BOP's on-
going and continued modified operations, creating an uncontemplated
hardship. On _01/ 21/2022, the Warden denied Powell's request. See
DEF, EXH. 1 & 2. Having exhausted his administrative remedies
through the BOP, Powell [now] submits this § 3582(c) motion request-
ing a sentence reduction and memorandum in support. Accordingly,
the Court may adjudicate this motion.

(B). Extraordinary and Compelling Reasons

As already noted, § 3582(c) permits a modification of a prison
term when the movant demonstrates that "extraordinary and compelling
reasons warrant such a reduction." § 3582(c)(1)(A)(i). Id. See

United States v. Brooker, 976, F.3d 228, 237 (2d Cir. 2020); see

 

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.29 Filed 03/16/22 Page 4 of 56

also, United States v. McDonel, --- F.Supp. 3d ---, No. 37-20189,

 

2021 WEL 120935, at 6 (E.D. Mich. Jan. 13, 2021)(reducing 1,285-month
sentence to 240 months). Nevertheless, such motions are generally
referred to as those for "compassionate release." See United
States v. Maumau, No. 2:08-cr-00758-TC-11, 2020 WL 806121, at 8 n.2
(D. Utah Febn. 18, 2020)("In this order, the court uses the phrase
‘compassionate release' and ‘sentence modification’ interchangeably,
which is consistent with how other courts have used the terms.").

While § 3582(c) does not define, "extraordinary and compelling
reasons, district courts have therefore been given "full discretion"
to define what constitutes “extraordinary and compelling" on a case-
by-case basis. Jones, 980 F.3d at 111; see also Brooker, 976 F.3d at
237 (noting that "a district court's discretion in this area - as in
all sentencing matters - is broad"). The statute further states
that any modification should be "consistent with the applicable
policy statements issued by the Sentencing Commission." The last
reference has generally been linked to the U.S.S.G., and in parti-
cular, commentary to U.S.S.G. § 1B1.13; the current version of
which was promulgated in November 2018.

The trouble is, as a number of courts have pointed out, this
version of the Guidelines was enacted before the current version of
§ 3582(c) went into effect. No subsequent modifications of the
§ 1B1.13 commentary have ben adopted or proposed. Indeed, because
the Sentencing Commissin lacks the necessary number of commissioners,
no amendments or modifications have been possible. Hence, the Sen-
tencing Commission has neither spoken on the current version of
§ 3582(c) nor addressed its objective of increasing prisoners’ ac-
cess to compassionate release reductions in sentence at all. For

this reason, many courts have employed the commentary to U.S.S.G.

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.30 Filed 03/16/22 Page 5 of 56

§ 1B1.13 (Nov. 2018) as informative with respect to the "extraor-
dinary and compelling reasons" inquiry, but not dispositive. See
E.g., Brown, __F.Supp.3d __, 2020 WL 2091802, at 5-7; United States
v. Cantu, 423 F.Supp.3d 345, 350 (S.D. Tx. 2019)(the commentary to

§ 1B1.13 "is not part of the applicable policy statement binding the
court.").

With that understanding of non-binding effect, courts have ob-
served that the latest version of §1B1.13 offers a number of exam-
ples of situations that might constitute "extroardinary and com-
pelling reasons" to justify a § 3582(c) modification, including ser-
ious medical conditions, advanced age, and dire family circumstances.
U.S.S.G. § 1B1.13, App. N.1(A)-(C). But in addition, the Sentencing
Commission added a "catch-all" or "other" provision: "As determined
by the Director of the Bureau of Prisons, there exists in the defen-
dant's case an extraordinary and compelling reason other than, or
in combnation with the reasons described in subdivisions (A) through
(C). Id., App.N.1(D). (emphasis added).

Here, in Powell's case, he is advancing the “other than" extra-
ordinary and compelling reason, and when combined to establish a bas-
is for "extraordinary and compelling reasons."

Powell's Extraordinary and Compelling Circumstances

(1) Powell's Particularized Risk to Contract COVID-19 and
Develop:: a Serious Illness.

Relying on official guidelines from the Centers for Disease Con-
trol ("CDC") is a common practice in assessing compassionate-release
motions. See United States v. Elias, 984 F.3d 516, 518 (6th Cir.
2021). The CDC currently advises that hypertension can make you more
likely to get severely ill from COVID-19. See People with Certain

Medical Conditions, Centers for Disease Control and Prevention, https:

 

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.31 Filed 03/16/22 Page 6 of 56

 

//www.cdce.gov/coronavirus/2019-ncov/need-extra-precautions/people-
with-medical-conditions.html.

Here, Powell has a qualifying medical co-morbidity of Hyperten-
sion for several years. As of February 24, 2022, Powell was newly
prescribed Hydrochilorothaiz (HTZ) 25 mg as a result of his HIN
being poorly managed. Further, Powell was newly prescribed Lorastan
Potassium 50 mg. Next, Powell is prescribed oral Prednisone on a
daily basis. As a result, Powell's immune system is compromised due
to the ongtime use of this corticosteroid. The CDC has recognized
the "use of corticosteroids" as a condition that "might" entail a
greater risk of severe illness from COVID-19. It is important to
note that CDC guidance has since been updated and the word "might"
has been removed from this section of advice. See COVID-19: Medical
Conditions, Centers for Disease . .. ." Id. Moreover, CDC guide-
lines provide that "[p]rolonged use of corticosteroids or other
imune weakening medicines can lead to secondary or acquired immun-
odeficiency. "People who have a condition or are taking medications
that weaken their immune system may not be protected even if they
are fully vaccinated." Id.

Powell has been vaccinated and boosted against COVID-19, but
according to this guidance he may still be at risk of severe disease;
especially when you consider that FCI-Sandstone currently has in-
mates with COVID-19 who previously tested positive and were fully

vaccinated. See COVID-19 Cases, https://www.bop.gov/coronavirus/.

 

FCI-Sandstone is currently experiencing its [second] outbreak of
COVID-19 amongst inmates and staff. FCI-Sandstone hsa certainly
seen its share of infections over the past 2-years and one inmate
has died. Additionally, only about 60% of FCI-Sandstone staff is

vaccinated; with a majority receiving "religious exemption." It

6
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.32 Filed 03/16/22 Page 7 of 56

 

is uncontrovverted that these unvaccinated staff members present a
more likely vector for COVID-19 transmission into a correctional
institution. The court therefore should and must find that Powell's
diagnosis of Hypertension and longtime use of corticosteroids, when
combined with the foregoing is an extraordinary and compelling rea-

son for compassionate release. See United States v. Meeks, No. 10-

 

cr-20388-2, 2021 WL 869669 at 1 (E.D. Mich. Mar. 9, 2021)(finding

extraordinary and compelling reasons for compassionate release
where defendant was obese and had _ been diagnosed with High blood
pressure). See DEF. EXH. 3 - Powell's Medical Records.

Next, as a concomitant argument to Powell's co-morbidities,
Powell is an African-American male above the age of 50. These two
factors increase Powell's chance of contracting COVID-19; 3x greater
as compared to a Caucasion male. This puts Powell at an increased
risk of developing severe symptoms. Since Powell resides in a cor-

» his inability to maintain safe distances put him at an increased
risk of developing a severe illness and risk of infection. See E.g.,
United States v. Terraciano, 492 F. Supp. ed 1082, 1085-86 (E.D.
Cal. 2020).

Powell's vaccination status also should not work against him. If
anything, his choice to receive the vaccine shows that he is genuine-
ly concerned for his health and safety. The COVID-19 vaccine, though
laregely successful at preventing severe illness, is by no means
100% effective and the longevity of any immunity from either’ the
vaccine or Powell's previous illness is uncertain. See Ensuring
COVID-19 Vaccines Work, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/effectiveness.

html?s-cid=10464:covidZ20vaccine%Z20effectiveness:sem.ga:p:RG:GM

gen: PIN: FY21. Finally, while Powell was determined by the BOP to

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.33 Filed 03/16/22 Page 8 of 56

have been "recovered" from his initial bout of COVID-19 in 2020, he

is [now] experiencing chronic and debilitating headaches [post-

COVID-19], which he previously never experienced. As a_ result,
Powell is currently being prescribed oral Sumatripten and Amlodi-
pine. See DEF. EXH. 3 - Powell's Medical Records. All the fore-

going are to be weighed together when evaluated Powell's medical

 

co-morbidities as extraordinary and compelling circumstances in fa-
vor of a sentence modification.

(2) Powell's Illegal Firearm Conviction

Numerous courts have also found extraordinary and compelling
reasons where legislative changes drastically reduced mandatory
sentencing requirements. See e.g., United States v. Young, 458 F.
Supp. 3d 838 (M.D. Tenn. 2020); United States v. Baker, No. 20513,
2020 WL 4696594, at 3 (E.D. Mich. Aug. 13, 2020); United States v.
Taniguchi, No. 00-50, 2020 WL 6390061, at 3-5 (S.D. Ohio Nov. 2,
2020).

Here, and analogous to the foregoing, Powell believes his § 924
(c)(1)(A) conviction; possession of a firearm during and in rela-
tion to a drug trafficking crime, is not a chargeagle offense when
you consider Sixth circuit binding precedent. See United States
v. Williams, 2012 U.S. App. LEXIS 7010 (6th Cir. 2012)(citing United
States v. Combs, 369 F.3d 925, 934 (6th Cir. 2004). Williams held
that in citing Combs that "possession of a firearm during and in re-
lation to a drug trafficking crime" is not a chargeable offense.
Powell was adjudicated guilty of § 924(c)(1)(A). Section 924(c)(1)(A)
makes it a crime to (1) use or carry a firearm during and in rela-
tion to a drug trafficking crime or (2) possess a firearm in further-
ance of a d rug trafficking crime. These offense are separate and

distinct. The wording results from an impermissible combination of

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.34 Filed 03/16/22 Page 9 of 56

the language of the first and second clauses of §924(c)(1)(A). See
Combs ,369 F.3d at 933-34. Accordingly, these two elements cannot

be mixed. Here, the title of the charge agaisnt Powell combines

the conduct elements of both §924(c) offenses with the standard of
participation from the "use" offense, resulting in an nonexistent
federal crime. Therefore, when considering the foregoing and under
the guise of compassionate release; analgous to sentence dispar-
ities or legislative changes, the Court should and must determine
that this illegal conviction is an extraordinary and compelling rea-
son for a sentence reduction [five-years ] when combined with Powell's
other arguments.

(3) Powell's Prolonged Period of Incarceration in Restrictive

Housing Resulting in an Uncontemplated More Harsh and
Punitive Period of Incarceration.

As a result of the BOP's mis-management in mitigating the spread
of COVID-19; widely throughout all BOP institutions and namely FCI-
Sandstone, the BOP has had to severely limit inmate movement to
their respective housing units. This has resulted in a prolonged
(2-years and continuing) period of unduly harsh and punitive con-
ditions of confinement. The conditions of incarceration during the
COVID-19 pandemic were not something this Court could have predicted
at the time of Powell's sentencing.

That said, Powell does not expect his period of incarceration
to be necessarily comfortable; he does expect it to be uncomfortable.
However, Powell does not believe the Constitution or the Sentencing
Court allow for atypical and significant hardships outside of ty-
pical prison life, or periods of prolonged confinement which result
in the deprivation of any single human need. This is what has oc-
curred to Powell over the past 24-months due to him being housed in

restrictive housing as a -result of COVID-19 and the BOP's conco-
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.35 Filed 03/16/22 Page 10 of 56

 

mitant modified operations. .
Deprivations that are less severe or more closely related to

the expected terms of confinement may also amount to deprivations of |

a potential liberty interest, provided that the liberty in question

is one of "real substance." An interest of "real substance will gen-

erally be limited to freedom from restraint that imposes an "atypi-

cal and significant hardship on the inmate in relation to the ordin-

ary incidents of prison life, or will inevitably affect the dura-

tion of a sentence."

Here, in Powell's case, beign placed in restrictive housing
(essentially confined to his housing unit) as a result of a National
Emergency is "atypical and significant;" especially when you consid-
er the 24-month duration. Accordingly, the placement of an inmate
in a highly restrictive living setting may amount to a deprivation
of a real liberty interest of "real substance" within the meaning
of Sandin. See Wilkinson v. Austin, 545 U.S. 209, 224, 125 S. Ct.

2384, 162 L.Ed. 2d 174 (2005)(citing Sandin_v. Conner, 515 U.S. 472,
484 115 S. Ct. 2293, 132 L.Ed. 2d 418 (1995)).

As a result of Powell being placed in a restrictive living
environment through and by BOP modified operations, he has been
deprived of the following: (1) therapeutic recreation; (2) family
visitation; (3) exercise; (4) meaningful educational programming;

(5) congregate religious programming; and (6) social, physical and
environmental stimuli; all in violation of Sandin. These depriva-
tions were not and could not have been contemplated by the Court at
the time of Powell's sentencing many years ago.

Accordingly, and in support of Powell's argument, he requests
the Court take judicial notice of the following judicial opinions

and public records.

10
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.36 Filed 03/16/22 Page 11 of 56

In United States v. Hatcher, No. 18-cr-454-10(KPF)(S.D.N.Y.
Apr. 16, 2020) the Court had previously denied a § 3582(c) motion
to reduce a sentence in the early months of the COVID-19 pandemic,
reversed course and granted a similar motion in light of the extreme
length of time to which the movant in that case had been subjected
to harsh prison conditions. The conditions described by the movant
in Hatcher, coupled with the physical and emotional toll caused by
them are squarely on-point with Powell's experience in the BOP
during the past 24-months of BOP modified operations.

In United “States v. King, 2020 U.S. Dist. LEXIS 165451, No.

 

17-cr-20332, at 14-16 (E.D. Mich. Sep. 10, 2020) the district court
granted a sentence reduction, in part, on the inmate's description
of conditions at FCI-Ashland during the COVID-19 pandemic. Accord-
ing to the inmate's d escription, FCI-Ashland implemented modified
operations on April 1, 2020 to mitigate the spread of COVID-19.
These modified operations limited access to: (1) institutional fac-
ilities; (2) exercise; (3) commissary; (4) religious programming;
(5) educational programming; and (6) social stimuli. In its order
granting King's motion, the Court observed: "Had the Court known
when it sentenced King that he would be subjected to such additional
restrictions while incarcerated, it may have sentenced him to a
shorter term of imprisonment." Id.

Here, Powell requests the Court adopt similar reasoning, es-
pecially when you consider Powell has served the vast majority of
his 235-month prison sentence.

In United States v. Rodriguez, 2020 U.S. Dist. LEXIS 181004

 

at 7 (S.D.N.Y. Sep. 30, 2020) the Court granted a sentence reduction,
in part, giving salient consideration to the extent onerous lockdowns

and restrictions imposed by correctional facilities attempting to

11

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.37 Filed 03/16/22 Page 12 of 56

control the spread of the virus have made sentences "harsher and
more punitive then would otherwise have been the case." Powell
has experienced the same harsh and punitive incarceration condi-
tions, but for a much longer period of time.

In United States v. Caprian, 2021 U.S. Dist. LEXIS 18698 at 8

 

(S.D.N.Y. Feb. 1, 2021) the Court granted a sentence reduction when
considering the following: "A day spent in prison under extreme
lockdown and in fear of contracting a deadly virus exacts a

price on a prisoner beyond that is imposed by an ordinary day in
prison. While not intended as punishment, incarceration in such
conditions is, unavoidably mor epunishing." Powell has far exceeded
"a day" of said harsh conditions. Further, while Powell received

the COVID-19 vaccinations, he continues to live in fear of contract-
ing COVID-19 a second time and may not be as fortunate when consid-
ering his risk factors and residing in a correctional facility.

In United States v. Cruz, 2020 Dist. LEXIS 66485 No. 2:18-cr-

 

81(SRU)(D. Conn. Apr. 6, 2021) the Court granted a sentence reduction
on the following reasoning: "It is additionally clear that to the ex-
tent that a goal of incarceration is to provide a particular indivi-
dual with s ervices of rehabilitation, months spent on lockdown with-
out access to programming does not further that goal. Moreover,
Cruz has served a significant period of incarceration in extremely
harsh conditions without the support of visits from family, in an
environment where he has been exposed to the risk of a deadly di-
sease."" Powell too, has been denied said programming under identi-
cal, but much longer harsh prison conditions.

In United States v. Nagi, 2021 U.S. LEXIS 212151, No. 06-cr-

 

20465 (E.D. Mich. Nov. 3, 2021), granting compassionate release, in

part, opining that "the conditions of incarceration during the pan-

12
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.38 Filed 03/16/22 Page 13 of 56

demic were not something this Court could have predicted."

While the BOP needed to attempt to mitigate the spread of
COVID-19 by and through modified operations, Powell is of the belief,
which is supported by the U.S. Solicitor General, Mr. Richard Durbin,
and Mr. Chuck Grassley, Senate Judiciary Committee, that these [pro-
longed ] harsh conditions have been as a direct result of the BOP's
failure in implementing an effective response to the COVID-19 pan-
demic. See Michael Carvajal, BOP Director, testimony before the
Senate Judiciary Committee, dated on or about April 13, 2021. Put
simply, if the BOP would not have mis-managed COVID-19 mitigation,
the BOP would not be in modified operations for this prolonged dura-
tion.

(4) Powell's Unique Family Circumstances

Powell has an elderly father who is in need of a primary care-
giver, and no other siblings or family members are able to provide
the required care. This leaves Powell as his father's only poten-
tial caregiver. Powell intends to submit with his eventual "reply"
brief or in an amended filing, his father's medical records which
support this argument.

While non-binding, a court may look to U.S.S.G. § 1B1.13, if
it so chooses, "as part of its discretionaly inquiry into whether a
case presents extraordinary and compelling reason." United States v.
Tomes, 990 F.3d 500, 503 n.1 (6th Cir. 2021); Hunter, 12 Fidbth at’ 662.
The commentary to § 1B1.13 suggests that extraordinary and compel-
ling reasons may exist where a defendat is the only available care-
giver for an incapacitated spouse, U.S.S.G. § 1B1.13 to include the
needs to care for an incapacitated parent. See United States v.

Bucci, 409 F. Supp. 3d 1 (D. Mass. 2019); see also United States Vv.

 

 

Nagi, 2021 U.S. Dist. LEXIS 212151, No. 06-cr-20465 (E.D. Mich.

13
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.39 Filed 03/16/22 Page 14 of 56

Nov. 3, 2021)(granting compassionate release, in part, to be the pri-
mary caregiver for his mother). At the time of this motion being filed
Powell is awaiting his father's medical records in support of his
father requiring care to assist him with his activities of daily
living as a result of deteriorating health. Once received, Powell
will submit in a separate filing or will be included in his even-
tual reply brief.

When weighing all the foregoing extraordinary and compelling
reasons Powell has identified, Powell believes he has made the re-
quisite showing in demonstrating the basis for sentence modifica-
tion under § 3582(c). Altnernatively, if the Court so desires,
Powell would accept a sentence modification to include a term of
home confinement under U.S.S.G. § 5F1.2.

§ 3553(a) Sentence Factors Favor a Sentence Reduction

Although Powell believes he has made a satisfactory showing of
extraordinary and compelling reasons that warrant a sentence modifi-
cation, the Court must also consider the relevant factors listed in

Title 18 U.S.C. § 3553(a). These factors include the nature and

 

circumstances of the offense, the history and characteristics of the
defendant, the seriousness of the offense, the meed to promote re-
spect for the law and provide just punishment for the offense, gen-
eral and specific deterrence, protection of the public, and the need
to avoid unwarranted sentence disparities. See § 3553(a).

Powell admits that his drug trafficking crime was serious. How-
ever, Powell has fully accepted responsibiity for his crime, and
upon his eventual release, he is committed to a life free of crim-
inality. Powell admits he has made some extremely poor decisions in
his life which he blames no other than himself. Unfortunately it

took this lenghty period of incarceration provide him with the need-

14

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.40 Filed 03/16/22 Page 15 of 56

ed perspective to explore his past behaviors to ensure that his life
takes a different pro-social direction upon his release. When con-
sidering Powell's criminal history, Powell remained committed to
mentoring youth in the community to ensure they do not take destruc-
tive paths Powell has taken. Unfortunately, with some individuals
like Powell, it takes sometime two or three serious mis-steps in
order to engage in pro-social behavior. Powell is at this point now.

Upon Powell's eventual release, he has a strong release or re-
entry plan to successfully return to the community. Powell has the
strong support of many family members and friends to serve as a sup-
port system to “walk with" Powell, helping to ensure his path in life
remains steadfast to pro-social behavior and a life free of wrong-
doing and/or criminality. See DEF. EXH. 4 - Letters of Support.

If granted, Powell intends to reside with his father at: 19575
Farmington Road, # 575, Bldg. 7, Livonia, Mich. 48152, which will al-
low Powell to be his father's primary care-giver. Powell's father
is named: Mr. Willie Powell, Sr. Additionally, this arrangement
will also provide a tangential support and accountability framework
for Powell; facilitating his successful re-entry and life free of
criminality. Further, Powell has family connections with both Gen-
eral Motors and Ford Automotive by and through Senior employment and
as a result will be in a position to provide Powell with employment
references. While incarcerated, Powell worked in UNICOR, achieving
the highest pay grade. Moreover, Powell has completed coursework in
Commercial Driver's LIcense ("CDL") and desires to pursue this licen-
sure through future employment with the foregoing automobile manufac-
ture's. Importantly, Powell has obtained his High School Equivalency

("GED"). According. to the United States Sentencing Commission: Re-

 

cidivism Among Federal Offenders: A Comprehensive Overview (March

15

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.41 Filed 03/16/22 Page 16 of 56

2016), inmates with an education level consistent with a High
School Graduate are less likely to recidivate compared to those
who have an education level less than a High School Graduate.
Powell's advanced age also suggest he is less likely to recidivate
as compared to younger individuals.

When you consider the foreoging, the § 3553(a) would suggest
a sentence reduction is warranted. Therefore, Powell is of the be-
lief that compassionate release is warranted.

RELIEF SOUGHT

WHEREAS, for the foregoing reasons, Powell prays the Court
will enter an immediate court order granting his sentence to a time-
served sentence.
Dated: March 11, 2022

Respectfully submitted,

 

Willie G. Powell
FCI-Sandstone C-Unit
P.O. Box 1000
Sandstone, MN 55072

Certificate of Service

 

I aver that I mailed a copy of this document to the Clerk of
Court, by placing said document into a prepaid envelope and depos-
ited said envelope into the inmate mail system at FCI-Sandstone.

Dated: March 153, 2022

BY:

[hee (4h wb
Willie G. Powell
Reg. No. 03818-068

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.42 Filed 03/16/22 Page 17 of 56

DEF. EXH 1

Powell's Administrative Request to Warden

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.43 Filed 03/16/22 Page 18 of 56

 

 

 

 

 

 

 

 

BP-A0148 INMATE REQUEST TO STAFF cprrm
JUNE 10
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
eee eee eee eee eee eeeeeeeeeeeeeeeeee a eccee eee reece eee aS
TO: (Name and Title of Staff Member) DATE:

Warden Fikes 12-27-2021
FROM: REGISTER NO.:

W. Powell | _ 03818-068
WORK ASSIGNMENT: UNIT:

Unassigned Cc
SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. If necessary, you will be interviewed in. order to successfully respond to your
request. SECOND REQUEST FOR A REDUCTION IN SENTENCE MOTION

(Due to Change in Facts and Circumstances)

Warden, since I last requested you file a RIS Motion on my behalf,
several important facts have changed. Therefore I am requesting you
consider anew this request for a reduction in sentence pursuant 18
U.S.C. §3582(c)(2) for the following separate or joint reasons: 1)
Developments in my elderly father's care and health that necessitate an
in-home care; (2) Charging issues with the 924(c) conviction & sentence
from the SD of Ohio; (3) After my COVID-19 infection, here, I developed
the following medical conditions which put me at risk for a COVID-19
reinfection, and further harm: hypertension, kidney issues (Stage 2),
uncontrolled migraines; and (4) changes in sentencing law and
procedures, which would have applied to me if sentenced today, would
substantially reduce my _ sentence. I will provide information,
documentation, and evidence that establishes I qualify for
Compassionate Release under prevailing case law including your own
medical records. Thank you for .yourppRempat.,censjideration and response.

 

DISPOSITION:
FC] Sandstone
DEE & - pqay
Warden’
e
1's Office
Signature Staff Member Date

 

 

Record Copy - File; Copy - Inmate

PDF Prescribed by P5511

This form replaces BP-148.070 dated Oct 86
and BP-S148.070 APR 94

FRLE IN SECTION 6 UNLESS APPROPRIATE FOR Prasgibatey FOLDER SECTION 6
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.44 Filed 03/16/22 Page 19 of 56

DEF. EXH. 2

Powell's Administrative Denial
 
     
   
   
       
       
   
   
     
       

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.45 Filed 03/16/22 Page 20 of 56

POWELL, Willie
Reg. No.: #03818-068 (C)

This is in response to your Inmate Request to Staff, received 12-27-2021, wherein you

- request to be considered for a Reduction in Sentence (RIS). Specifically, you cite your
current non-terminal medical ailments, care of a parent, and changes in sentencing
guidelines as an extraordinary and compelling circumstance that warrants RIS
consideration.

According to Program Statement (P.S.) 5050.50, Compassionate Release/Reduction in
Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(q), the BOP
has determined the following criteria may be used to file fora RIS: Terminal Medical
Condition, Debilitated Medical Condition, certain Elderly Inmate conditions, Death or
Incapacitation of a Family Member Caregiver (for children under the age of eighteen),
and Incapacitation of a Spouse or Registered Partner. As you do not meet any of the
above stated criteria, your request is denied. -

lf you are dissatisfied with this response, you may file an appeal pursuant to P.S.
1330.17, Administrative Remedy Program, within 20 calendar days of the date of this
response.

oc | oppo

J. Fikes, Warden Date /

      
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.46 Filed 03/16/22 Page 21 of 56

DEF. EXH. 3

Powell's Medical Records
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.47 Filed 03/16/22 Page 22 of 56

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: POWELL, WILLIE G Reg#: 03818-068
Date of Birth: 02/09/1970 Sex: M Race: BLACK Facility: SST
Encounter Date: 04/20/2021 11:48 Provider: Southwick, JeneferPA-C Unit: C01

 

Mid Level Provider - Evaluation encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Southwick, Jenefer PA-C

Chief Complaint: Dizziness

Subjective: After receiving his Imitrex injection inmate reported “feeling warm and dizzy". Initial vitals
were elevated. He was escorted to waiting room, drank water and was escorted to chair to
rest. He stated he continued to feel warm after 30 minutes.

 

Pain: Not Applicable
OBJECTIVE:
Pulse:
04/20/2021 11:49 SST 65 Southwick, Jenefer PA-C
04/20/2021 11:49 SST 60 Southwick, Jenefer PA-C

Blood Pressure:

04/20/2021 11:49SST 165/95 Southwick, Jenefer PA-C
04/20/2021 11:49SST 151/98 Southwick, Jenefer PA-C
Exam Comments
first BP was elevated at 165/65 followed by 151/98 after resting. will f/u later in the week
ASSESSMENT:

Headache, unspecified, R519 - Current

PLAN:
Schedule:
Follow-up 04/23/2021 00:00 MLP 03
flu HA
Disposition:

Follow-up at Sick Call as Needed
Will Be Placed on Callout

Patient Education Topics:
04/20/2021 Counseling Access to Care Southwick, Jenefer  Verbalizes
Understanding

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No

Completed by Southwick, Jenefer PA-C on 04/20/2021 12:16
Generated 04/20/2021 12:16 by Southwick, Jenefer PA-C Bureau of Prisons - SST Page 1 of 2

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.48 Filed 03/16/22 Page 23 of 56

Inmate Name: POWELL, WILLIE G . Reg #: 03818-068
Date of Birth: 02/09/1970 Sex: M Race: BLACK Facility: SST

Encounter Date: 04/20/2021 11:48 Provider: Southwick, Jenefer PA-C — Unit: C01

Generated 04/20/2021 12:16 by Southwick, Jenefer PA-C Bureau of Prisons - SST Page 2 of 2

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.49 Filed 03/16/22 Page 24 of 56

 

 

Inmate Name: POWELL, WILLIE G Reg #: 03818-068

Date of Birth: 02/09/1970 Sex: M_ Race: BLACK Facility: SST

Encounter Date: 07/22/2021 13:55 Provider: Rice, Benjamin (MAT) MD, Unit: co1

PLAN:

New Medication Orders:

Rx# Medication Order Date

predniSONE 10 mg Dosepak (48) 07/22/2021 13:55

Prescriber Order: 10mg Orally - daily x 12 day(s) -- see package instructions for taper

Indication: Headache, unspecified

New Laboratory Requests:
Details Frequency Due Date Priority
Lab Tests - Short List-General-Lipid Profile One Time 08/31/2021 00:00 Routine
Lab Tests - Short List-General-TSH
Lab Tests - Short List-General-Hemoglobin A1C
Lab Tests - Short List-General-C-Reactive
Protein (CRP)
Lab Tests - Short List-General-Comprehensive
Metabolic Profile (CMP) -

New Non-Medication Orders:

Blood Pressure Weekly 30 days startin in 3 weeks after Rice, Benjamin (MAT)
medication finished MD, CD .
Order Date: 07/22/2021
Schedule:
Activity Date Scheduled Scheduled Provider
Follow-up 09/24/2021 00:00 Physician
f/u prednisone tcx for post covid HAS and labs
Disposition:

Will Be Placed on Callout

Other:
provider follow up as scheduled

Patient Education Topics:
07/22/2021 Counseling Treatment Goals Rice, Benjamin Verbalizes
Understanding

treat post covid HA and reduce sodium intake

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No
Completed by Rice, Benjamin (MAT) MD, CD on 07/22/2021 14:07

Generated 07/22/2021 14:07 by Rice, Benjamin (MAT) MD, Bureau of Prisons - SST Page 3 of 3
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.50 Filed 03/16/22 Page 25 of 56

Inmate Name: POWELL, WILLIE G Reg #: 03818-068
Date of Birth: 02/09/1970 Sex: M Race: BLACK Facility: SST

Encounter Date: 07/22/2021 13:55 Provider: Rice, Benjamin (MAT) MD, Unit: C01

Date Time Fahrenheit Celsius Location Provider

Pulse:
Date Time Rate Per Minute Location Rhythm Provider
07/22/2021 13:11 SST 97 Via Machine Olson, Michelle RN

Respirations:
07/22/2021 13:11 SST 16 Olson, Michelle RN

Blood Pressure:

07/22/2021 13:11 SST 150/98 Left Arm Sitting Adult-large Olson, Michelle RN
$a0Q2:
Date Time Vaiue(%) Air Provider
07/22/2021 13:11 SST 97 Room Air Olson, Michelle RN
Height:
Date | Time Inches Cm Provider
07/22/2021 13:11 SST 71.0 180.3. Olson, Michelle RN
Weight:
07/22/2021 13:11 SST 209.6 95.1 Olson, Michelle RN
Exam:
General
Affect
Yes: Pleasant, Cooperative
No: Agitated
Appearance

Yes: Appears Well, Alert and Oriented x 3
No: Appears Distressed
Neck
General
Yes: Within Normal Limits, Supple, Symmetric
Pulmonary
Auscultation
Yes: Clear to Auscultation
Cardiovascular

Auscultation
Yes: Regular Rate and Rhythm (RRR), Normal $1 and S2

No: M/R/G

Abdomen
Palpation
Yes: Within Normal Limits, Soft

ASSESSMENT:

Headache, unspecified, R519 - Current - post covid

Page 2 of 3

Generated 07/22/2021 14:07 by Rice, Benjamin (MAT) MD, Bureau of Prisons - SST

 

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.51 Filed 03/16/22 Page 26 of 56

Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: POWELL, WILLIE G Reg #: 03818-068
Date of Birth: 02/09/1970 Sex: M_ Race: BLACK Facility: SST
Encounter Date: 03/23/2021 11:32 Provider: Southwick, Jenefer PA-C Unit: 105

 

Mid Level Provider - Follow up Visit encounter performed at Health Services.
SUBJECTIVE:
COMPLAINT 1 Provider: Southwick, Jenefer PA-C

Chief Complaint: Headache
Subjective: | Pt seen for f/u HA. He was started on low dose Propranolol and states his HA pattern has not

really changed.

 

Pain: Not Applicable
OBJECTIVE:
Pulse:
Date Time Rate Per Minute Location Rhythm = Provider
03/23/2021 11:32 SST 55 Southwick, Jenefer PA-C
Respirations:
03/23/2021 41:32 SST 16 Southwick, Jenefer PA-C

Blood Pressure:
03/23/2021 11:32SST 143/94 Southwick, Jenefer PA-C

Exam Comments

no formal exam, pt interactive and appropriate
ASSESSMENT:

Headache, unspecified, R519 - Current

PLAN:
New Medication Orders:
Rx# Medication Order Date
amLODiPine Tablet 03/23/2021 11:32
Prescriber Order: 10mg Orally - daily x 90 day(s)

Indication: Headache, unspecified
Discontinued Medication Orders:

Rx# Medication Order Date
175413-CP1 Propranolol 20 MG Tab 03/23/2021 11:32
Prescriber Order: Take one tablet (20 MG) by mouth each day
Discontinue Type: When Pharmacy Processes
Discontinue Reason: discontinue
indication:
Schedule:
Follow-up 04/20/2021 00:00 MLP 03

Generated 03/23/2021 11:43 by Southwick, Jenefer PA-C Bureau of Prisons - SST Page 1 of 2

 
Bureau of Prisons
Health Services
Clinical Encounter

 

Inmate Name: POWELL, WILLIE G Reg #: 03818-068
Date of Birth: 02/09/1970 Sex: M Race: BLACK Facility: SST
Encounter Date: 04/08/2021 09:52 Provider: Southwick, JeneferPA-C — Unit: C01

 

Mid Level Provider - Sick Call Note encounter at Health Services.
Reason Not Done: No Show

Comments: cyst
moved units, change date of appt

pt was a no show for call out, will r/s
Cosign Required: No

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.52 Filed 03/16/22 Page 27 of 56
|

Completed by Southwick, Jenefer PA-C on 04/08/2021 09:53. |
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Page 1 of 1

Generated 04/08/2021 09:53 by Southwick, Jenefer PA-C Bureau of Prisons - SST

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.53 Filed 03/16/22 Page 28 of 56

 

 

Inmate Name: POWELL, WILLIE G Reg #: 03818-068

Date of Birth: 02/09/1970 Sex: M Race: BLACK Facility: SST

Encounter Date: 07/22/2021 13:55 Provider: Rice, Benjamin (MAT) MD, Unit: C01

PLAN:

New Medication Orders:

Rx# Medication Order Date
predniSONE 10 mg Dosepak (48) 07/22/2021 13:55

Prescriber Order: 10mg Orally - daily x 12 day(s) -- see package instructions for taper
Indication: Headache, unspecified

New Laboratory Requests:
Lab Tests - Short List-General-Lipid Profile One Time 08/31/2021 00:00 Routine
Lab Tests - Short List-General-TSH
’ Lab Tests - Short List-General-Hemoglobin A1C
Lab Tests - Short List-General-C-Reactive
Protein (CRP)
Lab Tests - Short List-General-Comprehensive
Metabolic Profile (CMP)

New Non-Medication Orders:

Order Frequency Duration Details Ordered By
Blood Pressure Weekly 30 days start in in 3 weeks after Rice, Benjamin (MAT)
medication finished MD, CD .
Order Date: 07/22/2021
Schedule:
Follow-up 09/24/2021 00:00 Physician

ffu prednisone tcx for post covid HAS and labs

Disposition:

Will Be Placed on Callout

Other:
provider follow up as scheduled

Patient Education Topics:

Date Initiated Format Handout/Topic Provider Outcome
07/22/2021 Counseling Treatment Goals Rice, Benjamin Verbalizes
Understanding

treat post covid HA and reduce sodium intake

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No
Completed by Rice, Benjamin (MAT) MD, CD on 07/22/2021 14:07

Generated 07/22/2021 14:07 by Rice, Benjamin (MAT) MD, Bureau of Prisons - SST Page 3 of 3
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.54 Filed 03/16/22 Page 29 of 56

 

 

 

 

inmate Name: POWELL, WILLIE G Reg #: 03818-068
Date of Birth: 02/09/1970 Sex: M~ Race: BLACK Facility: SST
Encounter Date: 07/22/2021 13:55 Provider: Rice, Benjamin (MAT) MD, Unit: C01
ate ime Fahrenheit Celsius Location Provider

Pulse:

Date Time Rate Per Minute Location Rhythm Provider

07/22/2021 13:11 SST 97 Via Machine Olson, Michelle RN
Respirations:

Date ime Rate Per Minute Provider

07/22/2021 13:11 SST 16 Olson, Michelle RN
Blood Pressure:

Date Time Value Location Position Cuff Size Provider

07/22/2021 13:11 SST 150/98 Left Arm Sitting Adult-large Olson, Michelle RN
$aO2:

Date Time Value(%) Air Provider

07/22/2021 13:11 SST 97 Room Air Olson, Michelle RN
Height:

Date Time Inches Cm Provider

07/22/2021 13:11 SST 71.0 180.3. Olson, Michelle RN
Weight:

Date Time Lbs Kg Waist Circum. Provider

07/22/2021 13:11 SST 209.6 95.1 Olson, Michelle RN
Exam:

General

Affect
Yes: Pleasant, Cooperative
No: Agitated
Appearance

Yes: Appears Well, Alert and Oriented x 3
No: Appears Distressed
Neck
General
Yes: Within Normal Limits, Supple, Symmetric
Pulmonary
Auscultation
Yes: Clear to Auscultation
Cardiovascular

Auscultation
Yes: Regular Rate and Rhythm (RRR), Normal S1 and S2

No: M/R/G
Abdomen
Palpation
Yes: Within Normal Limits, Soft

ASSESSMENT:

Headache, unspecified, R519 - Current - post covid
Generated 07/22/2021 14:07 by Rice, Benjamin (MAT) MD, Bureau of Prisons - SST

Page 2 of 3

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.55 Filed 03/16/22 Page 30 of 56

Bureau of Prisons
Health Services
Clinical Encounter - Administrative Note

 

Inmate Name: POWELL, WILLIE G Reg #: 03818-068
Date of Birth: — 02/09/1970 Sex: M _Race:BLACK Facility: | SST
Note Date: 03/17/2021 09:35 Provider: Harris, Jennifer RN Unit: 105

 

Flowsheet Note - Vital Sign Follow up encounter performed at Health Services.
Administrative Notes:
ADMINISTRATIVE NOTE 1 Provider: Harris, Jennifer RN

Vitals completed on POWELL, WILLIE G, register number 03818-068
Date: 03/17/2021 09:34
Provider: Harris, Jennifer RN
Pulse:
Rate: 55 per Minute
Blood Pressure:
Value: 146/92

Also disregard flowsheet entry 3/16/21 for B/P wrong chart , unable to error out.

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No

Completed by Harris, Jennifer RN on 03/17/2021 09:36
Requested to be reviewed by Southwick, Jenefer PA-C.
Review documentation will be displayed on the following page.

Generated 03/17/2021 09:36 by Harris, Jennifer RN Bureau of Prisons - SST Page 1 of 1
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.56 Filed 03/16/22 Page 31 of 56

 

 

Inmate Name: POWELL, WILLIE G Reg #: 03818-068
Date of Birth: 02/09/1970 Sex: M Race: BLACK Facility: SST
Encounter Date: 03/23/2021 11:32 Provider. Southwick, Jenefer PA-C = Unit: 105
Activity Date Scheduled Scheduled Provider
4 month f/u headache started Norvasc, Inderal not helping
Disposition:

To be Evaluated by Provider

Other:
discussed options, will try Norvasc, f/u in 1 month. If not improved, will refer to CD

Patient Education Topics:

Date Initiated Format Handout/Topic Provider Outcome
03/23/2021 Counseling Plan of Care Southwick, Jenefer = Verbalizes

’ Understanding

Copay Required: No Cosign Required: No
Telephone/Verbal Order: No
Completed by Southwick, Jenefer PA-C on 03/23/2021 11:43

Generated 03/23/2021 11:43 by Southwick, Jenefer PA-C Bureau of Prisons - SST Page 2 of 2
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.57 Filed 03/16/22 Page 32 of 56

 

Begin Date: 03/11/2021 End Date: 11/17/2021
Reg #: 03818-068 Inmate Name: POWELL, WILLIE G

Date Time Inches Cm _—_—i Provider
07/22/2021 13:11 SST 71.0 180.3. Olson, Michelle RN
Orig Entered: 07/22/2021 14:13 EST Olson, Michelle RN

Weight:
09/28/2021 08:36 SST 208.0 94.3 Rice, Benjamin (MAT) MD, CD

Orig Entered: 09/28/2021 09:38 EST Rice, Benjamin (MAT) MD, CD
07/22/2021 13:11 SST 209.6 95.1 Olson, Michelle RN

Orig Entered: 07/22/2021 14:13 EST Olson, Michelle RN

Generated 11/17/2021 11:03 by Balut, Aris HIT Bureau of Prisons - SST Page 3 of 3

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.58 Filed 03/16/22 Page 33 of 56

 

 

Begin Date: 03/11/2021 End Date: 11/17/2021
Reg #: 03818-068 inmate Name: POWELL, WILLIE G
Date Time Value Location Position Cuff Size Provider
10/27/2021 10:01 SST 140/86 Right Arm Sitting Adult-regular Southwick, Jenefer PA-C

Orig Entered:

10/20/2021 10:17 SST

Orig Entered:

10/13/2021 10:01 SST

Orig Entered:

10/06/2021 09:42 SST

Orig Entered:

09/28/2021 08:36 SST

Orig Entered:

08/27/2021 09:09 SST

Orig Entered:

08/20/2021 08:54 SST
p 60

Orig Entered:

08/13/2021 08:53 SST
P 56

Orig Entered:

08/06/2021 07:00 SST

Orig Entered:

07/30/2021 08:54 SST

Orig Entered:

07/22/2021 13:11 SST

Orig Entered:

05/24/2021 09:28 SST

Orig Entered:

04/20/2021 11:49 SST

Orig Entered:

04/20/2021 11:49 SST

Orig Entered:

04/20/2021 08:44 SST

Orig Entered:

03/23/2021 11:32 SST

Orig Entered:

03/17/2021 09:34 SST

Orig Entered:

03/16/2021 14:00 SST

Orig Entered:

SaO2:

40/27/2021 11:03 EST
135/94

10/20/2021 11:19 EST
147/97

10/13/2021 11:03 EST
150/94

10/06/2021 10:44 EST
155/94

09/28/2021 09:38 EST
145/90

08/27/2021 10:11 EST
139/90 Left Arm

08/20/2021 09:55 EST
140/86 Right Arm

08/13/2021 09:54 EST
146/90 Left Arm
08/06/2021 08:54 EST
146/95 Left Arm
07/30/2021 09:55 EST
150/98 Left Arm
07/22/2021 14:13 EST
148/94

05/24/2021 10:30 EST
165/95

04/20/2021 12:50 EST
151/98

04/20/2021 12:50 EST
140/83

04/20/2021 09:45 EST
143/94

03/23/2021 12:33 EST
146/92

03/17/2021 10:35 EST
130/90

03/17/2021 08:33 EST

Southwick, Jenefer PA-C
Harris, Jennifer RN

Harris, Jennifer RN

Harris, Jennifer RN

Rice, Benjamin (MAT) MD, CD

Olson, Michelle RN

Sitting Adult-regular

Olson, Michelle RN

Sitting Adult-large
Olson, Michelle RN

Sitting Adult-large
Torgerson, Jessica RN, lOP/IDC

Sitting Adult-large
Degerstrom, Kimberly RN

Sitting Adult-large

Olson, Michelle RN

Southwick, Jenefer PA-C

Southwick, Jenefer PA-C

Southwick, Jenefer PA-C

Southwick, Jenefer PA-C

Southwick, Jenefer PA-C

Harris, Jennifer RN

Harris, Jennifer RN

Date Time Value(%) Air Provider
07/22/2021 13:11 SST 97 RoomAir Olson, Michelle RN
Orig Entered: 07/22/2021 14:13 EST Olson, Michelle RN

Height:
Generated 11/17/2021 11:03 by Balut, Aris HIT

Bureau of Prisons - SST

Harris, Jennifer RN
Harris, Jennifer RN
Harris, Jennifer RN
Rice, Benjamin (MAT) MD, CD
Olson, Michelle RN

Olson, Michelle RN

Olson, Michelle RN

Torgerson, Jessica RN,
Degerstrom, Kimberly RN
Olson, Michelle RN
Southwick, Jenefer PA-C
Southwick, Jenefer PA-C
Southwick, Jenefer PA-C
Southwick, Jenefer PA-C
Southwick, Jenefer PA-C
Harris, Jennifer RN

Harris, Jennifer RN

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|
Page 2 of 3

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.59 Filed 03/16/22 Page 34 of 56

 

 

Reg #: 03818-068 Inmate Name: POWELL, WILLIE G

 

Topics

Date Initiated Format Handout/Topic Outcome vider

05/24/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 05/24/2021 10:36 EST Southwick, Jenefer

05/21/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 05/21/2021 11:11 EST Southwick, Jenefer .

05/18/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 05/18/2021 10:50 EST Southwick, Jenefer

05/07/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 05/07/2021 13:10 EST Southwick, Jenefer

04/29/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 04/29/2021 14:58 EST Southwick, Jenefer

04/23/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 04/23/2021 09:11 EST Southwick, Jenefer

04/20/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 04/20/2021 11:40 EST Southwick, Jenefer

04/20/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer
Orig Entered: 04/20/2021 11:44 EST Southwick, Jenefer

04/20/2021 Counseling Access to Care : Verbalizes Understanding Southwick, Jenefer
Orig Entered: 04/20/2021 13:16 EST Southwick, Jenefer

03/24/2021 Medication amLODIPine 10 MG TAB Pharmacy No participation Menard, Michael
Orig Entered: 03/24/2021 17:56 EST Menard, Michael

03/23/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer

Orig Entered: 03/23/2021 12:43 EST Southwick, Jenefer
Total: 19

Generated 11/17/2021 11:03 by Balut, Aris HIT Bureau of Prisons - SST Page 2 of 2
Bureau of Prisons
Health Services
Patient Education Assessments & Topics

 

 

 

 

Reg #: .03818-068 Inmate Name: POWELL, WILLIE G
Assessments
ssessment Date Learns Best By Primary Language Years of Education Barriers To Educatio Provider
Total: 0
Topics
Date Initiated Format Handout/Topic Outcome Provider
09/28/2021 Counseling Treatment Goals Verbalizes Understanding Rice, Benjamin
weight loss and optimize CV risks
Orig Entered: 09/28/2021 09:45 EST Rice, Benjamin (MAT)
08/06/2021 Counseling Plan of Care Verbalizes Understanding Degerstrom, Kimberly
Orig Entered: 08/06/2021 10:03 EST Degerstrom, Kimberly |
08/06/2021 Counseling New Medication Verbalizes Understanding Degerstrom, Kimberly |
mag citrate
Orig Entered: 08/06/2021 10:03 EST Degerstrom, Kimberly
08/06/2021 Counseling Other Verbalizes Understanding Degerstrom, Kimberly
Ways to help with constipation:
adequate fluids
exercise
increase fiber
Orig Entered: 08/06/2021 10:03 EST Degerstrom, Kimberly
07/27/2021 Medication predniSONE 10 MG Therapy Pack [48 ct] Pharmacy No participation Cetterer, T
Orig Entered: 07/27/2021 17:50 EST Oetterer, TL
07/22/2021 Counseling Treatment Goals Verbalizes Understanding Rice, Benjamin
treat post covid HA and reduce sodium intake
Orig Entered: 07/22/2021 15:07 EST Rice, Benjamin (MAT)
06/01/2021 Counseling Access to Care Verbalizes Understanding Harris, Jennifer
Orig Entered: 06/01/2021 11:34 EST Harris, Jennifer
05/27/2021 Counseling Plan of Care Verbalizes Understanding Southwick, Jenefer

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.60 Filed 03/16/22 Page 35 of 56

Orig Entered: 05/27/2021 09:11 EST Southwick, Jenefer

Generated 11/17/2021 11:03 by Balut, Aris HIT Bureau of Prisons - SST Page 1 of 2
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.61 Filed 03/16/22 Page 36 of 56

Bureau of Prisons
Health Services

Medication Summary

 

Historical
Complex: SST--SANDSTONE FCI Begin Date: 03/11/2021 End Date: 11/17/2021
Inmate: POWELL, WILLIE G Reg #: 03818-068 Quarter: C01-002L

 

Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies: Denied

Active Prescriptions
amLODIPine 10 MG TAB
Take one tablet (10 MG) by mouth each day
Rx#: 185417-CP1 Doctor: Southwick, Jenefer PA-C
Start: 03/23/21 . Exp: 06/21/21 Pharmacy Dispensings: 90 TAB in 90 days

Citrate Of Magnesia 296 ML Bottle

Drink one bottle one time ***pill line***

Rx#: 239984-CP1 Doctor: Fuayah, Marilyn CNP

Start: 08/06/21 Exp: 08/06/21 Pharmacy Dispensings: 0 ML in 0 day

predniSONE 10 MG Therapy Pack [48 ct}

Take as directed on package with food in decreasing daily doses each day for 12 days

Rx#: 233588-CP1 Doctor: Rice, Benjamin (MAT) MD, CD

Start: 07/22/21 Exp: 08/03/21 Pharmacy Dispensings: 48 tab in 12 days

Propranolol 20 MG Tab

Take one tablet (20 MG) by mouth each day

Rx#: 175413-CP1 Doctor: Rice, Benjamin (MAT) MD, CD

Start: 02/26/21 Exp: 05/27/21 D/C: 03/23/21 Pharmacy Dispensings: 30 TAB in 90 days

SUMAtriptan 6 MG/0.5 ML Inj

Inject 6 mg subcutaneously one time ***pill line***

Rx#: 196495-CP1 Doctor: Southwick, Jenefer PA-C

Start: 04/20/21 Exp: 04/20/21 Pharmacy Dispensings: 0 ML in 0 day

Generated 11/17/2021 11:03 by Balut, Aris HIT Bureau of Prisons - SST Page 1 of 1
Bureau of Prisons
Health Services

 

 

 

 

 

oO Immunizations
LO .
‘Begin Date: 03/11/2021 , End Date: 11/17/2021
oReg #: 03818-068 Inmate Name: POWELL, WILLIE G
q munization Immunization Date i Location Dosage Drug Mfg. Lot # ' Dose # Exp Date
aCOVID-19 Pfizer-BioNTech 08/24/2021 Right Deltoid O.3mL_ Pfizer FC3180 2 10/31/2021
N Orig Entered: 08/24/2021 12:43 EST Torgerson, Jessica RN, IOP/IDC .
OVID-19 Pfizer-BioNTech 08/06/2021 Now Right Deltoid 0.3mL Pfizer FC3180 1 10/31/2021
a
oO Orig Entered: 08/06/2021 08:55 EST Torgerson, Jessica RN, lOP/IDC
Gnfluenza ~ Immunization 11/04/2021 Refused
= Seqirus Afturia Quadrivalent
Orig Entered: 11/09/2021 14:52 EST Torgerson, Jessica RN, IOP/IDC.
toTotal: 3

 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD

Generated 11/17/2021 11:03 by Balut, Aris HIT Bureau of Prisons - SST Page 1 of 1
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.63 Filed 03/16/22 Page 38 of 56

 

 

 

 

 

 

 

: Report Status: Final
(@) Quest
® ! Diagnostics” POWELL, WILLIE
Patient Information Specimen Information Client Information
POWELL, WILLIE Specimen: WX862290Q Client #: 10763365 9999999
Requisition: 5556114 RICE, BENJAMIN
DOB: 02/09/1970 AGE: 51 Lab Ref #: 271211350 FCI - SANDSTONE - SST
Gender: M Collected: 10/06/2021 / 07:43 CDT SAN SSTOME. ROAD 29
Phone: NG Received: 10/07/2021 / 03:03 CDT AND » MN 55072-5161
Patient ID: 03818-068 Reported: 10/08/2021 / 19:52 CDT
Test Name In Range Out Of Range Reference Range Lab
CYSTATIN C WITH eGFR EZ
CYSTATIN C 1.02 0.52-1.23 mg/L
eGFR 79 > OR = 60 mL/min/1.73m2
PERFORMING SITE:

EZ QUEST DIAGNOSTICS/NICHOLS SIC, 33608 ORTEGA HWY, SAN JUAN CAPISTRANO, CA 92675-2042 Laboratory Director: IRINA MARAMICA,MD,PHD,.MBA, CLIA: 05D0643352

CLIENT SERVICES: 866.697.8378 SPECIMEN: WX862290Q PAGE | OF 1

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Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.64

Federal
Bureau of
Prisons

Name POWELL, WILLIE
Reg # 03818-068
DOB 02/09/1970

FMC Rochester
2110 E. Center Street
Rochester, MN 55904

507-287-0674

Facility FC! Sandstone
Order Unit C01-002L
Provider Benjamin Rice, MD

Filed 03/16/22 Page 39 of 56

*** Sensitive But Unclassified ***
Collected 08/31/2021 09:31 CDT

Received 09/01/2021 11:16 CDT
Reported 09/01/2021 15:36 CDT

 

 

 

 

 

 

 

Sex M LIS ID 203212760
[ CHEMISTRY
Sodium 142 136-145 mmol/L
Potassium 5.0 3.5-5.1 mmol/L
Chloride 105 98-107 mmol/L
Carbon Dioxide 27 22-29 mmol/L
Urea Nitrogen (BUN) 12 6-20 mg/dL
Creatinine H 1.60 0.67-1.17 mg/dL
eGFR (IDMS) 46
GFR units measured as mL/min/1.73m‘2.
\f African American multiply by 1.210.
A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.
Calcium 9.9 8.6-10.0 mg/dL
Glucose 88 74-109 mg/dL
AST 30 10-50 U/L
ALT 31 8-41 U/L
| Alkaline Phosphatase 79 49-126 U/L
| Bilirubin, Total 1.0 0.1-1.2 mg/dL
| Protein, Total 7.2 6.6-8.7 | gidl
Albumin 4.2 3.5-5.2 g/dL
! Globulin 3.0 2.0-3.7 g/dL
| Albumin/Globulin Ratio 1.40 1.00-2.30
| Anion Gap 10.0 9.0-19.0
| BUN/Creatinine Ratio 7.3 5.0-30.0
Cholesterol, Total 158 <200 mg/dL
Triglycerides 115 <150 mg/dL
HDL Cholesterol L 39 40-60 mg/dL
LDL-Cholesterol 96 <130 mg/dL
Chol/HDLC Ratio 4.1 0.0-4.0
C-Reactive Protein L <3.0 <5.0 mg/L
SPECIAL CHEMISTRY |
TSH 1.55 0.27-4.20 ulU/mL
| [ HEMOGLOBIN A1C |
Hemoglobin A1C 5.4 <5.7 %

5.7 -6.4 Increased Risk
> 6.4 Diabetes

 

 

FLAG LEGEND

L=Low L!=Low Critical

H=High H!=High Critical

A=Abnormal A! =Abnormal Critical

Page 1 of 1

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.65

FMC Rochester
Federal of 2110 E. Center Street
Prisons Rochester, MN 55904

507-287-0674

Filed 03/16/22 Page 40 of 56

*** Sensitive But Unclassified ***

 

 

 

 

Name POWELL, WILLIE Facility FCI Sandstone Collected 10/06/2021 07:43 CDT
Reg # 03818-068 Order Unit C01-002L Received 10/07/2021 10:50 CDT
DOB 02/09/1970 Provider Benjamin Rice, MD Reported 10/07/2021 11:34 CDT
Sex M LIS ID 271211350
| CHEMISTRY |
Sodium 139 136-145 mmol/L
Potassium 4.4 3.5-5.1 mmol/L
Chloride 103 98-107 mmol/L
Carbon Dioxide H 30 22-29 mmol/L
Urea Nitrogen (BUN) 11 6-20 mg/dL
Creatinine H 1.57 0.67-1.17 mg/dL
eGFR (IDMS) 47
GFR units measured as mL/min/1.73m‘2.
If African American multiply by 1.210.
Acalculated GFR <60 suggests chronic kidney disease if found over a 3 month period.
Calcium 9.4 8.6-10.0 mg/dL
Glucose 96 74-109 mg/dL
AST 26 10-50 U/L
ALT 23 10-50 U/L
Alkaline Phosphatase 73 49-126 U/L
Bilirubin, Total H 1.6 0.1-1.2 mg/dL
Protein, Total 6.8 6.6-8.7 g/dL
Albumin 4.2 3.5-5.2 g/dL
Globulin 2.6 2.0-3.7 g/dL
Albumin/Globulin Ratio 1.62 1.00-2.30
Anion Gap L 6.0 9.0-19.0
BUN/Creatinine Ratio 7.0 5.0-30.0
Cholesterol, Total 167 <200 mg/dL
Triglycerides 125 <150 mg/dL
HDL Cholesterol L 39 40-60 mg/dL
LDL-Cholesterol 103 <130 mg/dl.
Chol/HDLC Ratio H 4.3 0.0-4.0

 

FLAGLEGEND _L=Low _L!=Low Critical H=High H!=High Critical A=Abnormal A! =Abnormal Critical

Page 1 of 1
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.66 Filed 03/16/22 Page 41 of 56 .

 

 

 

 

 

 

 

, ue Report Status: Final
(@ } Quest |
& 4 Diagnostics” POWELL, WILLIE
Patient Information Specimen Information Client Information
POWELL, WILLIE . Specimen: WX862290Q_. Client #: 10763365 9999999
Requisition: 5556114 RICE, BENJAMIN
| DOB: 02/09/1970 AGE:51 . |Lab Ref#:; 271211350 FCI - SANDSTONE - SST
Gender: M Collected: 10/06/2021 / 07:43 CDT ean STON MIN SS 29
Phone: NG Received: 10/07/2021 / 03:03 CDT AND » MN 55072-5161
Patient ID: 03818-068 | Reported: 10/08/2021 / 19:52 CDT
Test Name . In Range Out Of Range Reference Range Lab
CYSTATIN C WITH eGFR EZ
CYSTATIN C 1.02 . . 0.52-1.23 mg/L
: eGFR 79 > OR = 60 mL/min/1.73m2
| PERFORMING SITE:

EZ QUEST DIAGNOSTICS/NICHOLS SIC, 33608 ORTEGA HWY, SAN JUAN CAPISTRANO, CA 92675-2042 Laboratory Director: IRINA MARAMICA,MD,PHD,MBA, CLIA: 05D0643352

CLIENT SERVICES: 866.697.8378 SPECIMEN: WX862290Q PAGE 1 OF 1

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Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.67 Filed 03/16/22 Page 42 of 56

FMC Rochester

 ™ d j
: » Bureau of 2710 E. Center Street
%# Prisons ; Rochester, MN 55904

 

507-287-0674

*t* Sensitive But Unclassified ***

 

 

 

 

Name POWELL, WILLIE Facility FCI Sandstone Collected 08/31/2021 09:31 CDT
Reg # 03818-068 Order Unit C01-002L Received 09/01/2021 11:16 CDT
DOB - 02/09/1970 Provider Benjamin Rice, MD Reported 09/01/2021 15:36 CDT
Sex M LiS ID 203212760

[" CHEMISTRY |
Sodium "142 136-145 mmol/L
Potassium 5.0 3.5-5.1 mmol/L
Chloride 105 98-107 mmol/L
Carbon Dioxide 27 22-29 mmol/L
Urea Nitrogen (BUN) 12 6-20 mg/dL
Creatinine H 1.60 0.67-1.17 mg/dL
eGFR (IDMS) 46

GER units measured as mL/min/1.73m42.

if African American multiply by 1.210.
A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.

9.9 8.6-10.0 mg/dL

 

 

 

 

Calcium
Glucose 88 74-109 mg/dL
AST 30 10-50 U/L
ALT 31 8-41 U/L
Alkaline Phosphatase 79 49-126 U/L
Bilirubin, Total 1.0 0.1-1.2 mg/dL
Protein, Total 7.2 6.6-8.7 g/dL
Albumin 4.2 3.5-5.2 g/dL
Globulin ; 3.0 2.0-3.7 g/dL
Albumin/Globulin Ratio 1.40 1.00-2.30
Anion Gap 10.0 9.0-19.0
BUN/Creatinine Ratio 7.3 5.0-30.0
Cholesterol, Total 158 <200 mg/dL.
Triglycerides 115 <150 mg/dL
HDL Cholesterol — L 39 40-60 mg/dL.
LDL-Cholesterol 96 <130 mg/dL
Chol/HDLC Ratio ; H 4.1 0.0-4.0
C-Reactive Protein L <3.0 <5.0 mg/L
[- SPECIAL CHEMISTRY |
TSH 4.55 0.27-4.20 ulU/mL
HEMOGLOBIN A1C _|
Hemoglobin AiC 54 — <5.7 %

5.7 - 6.4 Increased Risk
> 6.4 Diabetes

 

FLAG LEGEND L=Low L!=Low Critical H=High HI=High Critical A=Abnormal A! =Abnormal Critical
Page 1 of 1
  
     
       
        
     

FMC Rochester
2110 E. Center Street
Rochester, MN 55904
507-287-0674
+** Sensitive But Unclassified wee

Name POWELL, WILLIE Facility FCI Sandstone Collected 40/06/2021 07:43 CDT
Reg # 03818-068 Order Unit C01-002L Received 40/07/2021 10:50 CDT
Provider Benjamin Rice, MD Reported 40/07/2021 11:34 CDT

LIS ID 271211350

 

DOB 02/09/1970
Sex M

  
 

 
  
  
   
   
 
    
 
   
     
   
  
   
  
  
  
  
  
 
   
 
  
 
  
 

Chol/HDLC Ratio

 

   

   

  
  

 

 
 

L=Low L!=Low Critical

  
 

ee

H=High Hl=High Critical

136-145

     
 
 
 

mmol/L

Sodium 139
Potassium 4.4 3.5-5.1 mmol/L
Chloride 103 98-107 mmol/L
Carbon Dioxide H 30 22-29 mmol/L
Urea Nitrogen (BUN) 11 6-20 mg/dL
Creatinine H 1.57 0.67-1.17 mg/dl
eGFR (IDMS) AT
GFR units measured as mLimin/1.73m*2.
If African American multiply by 1.210.
A calculated GFR <60 suggests chronic kidney disease if found over a3 month period.
Calcium 9.4 8.6-10.0 mg/dL
Glucose 96 74-109 mg/dL
AST 26 10-50 U/L
ALT . 23 10-50 U/L
Alkaline Phosphatase 73 49-126 U/L
Bilirubin, Total H 1.6 0.1-1.2 mg/dL
Protein, Total 6.8 6.6-8.7 g/dL
Albumin 4.2 3.5-5.2 g/dL
Globulin 2.6 2.0-3.7 g/dL
Albumin/Globulin Ratio 1.62 4,00-2.30
Anion Gap L 6.0 9.0-19.0
BUN/Creatinine Ratio 7.0 5.0-30.0
Cholesterol, Total 167 <200 mg/dL
Triglycerides 425 <150 mg/dL.
HDL Cholesterol L 39 40-60 mg/dL
LDL-Cholesterol 103 <130 mg/dL
H 4.3 0.0-4.0

 

 

 

 

A=Abnormal A\ =Abnormal Crit

Page 1 of 1

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Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.69 Filed 03/16/22 Page 44 of 56

Report Status: Final

 

 

@ Quest
® ! Diagnostics” POWELL, WILLIE
Patient Information Specimen Informatiaw:: - Client Information
POWELL WILLIE Specimen: WX862290Q Client #: 10763365 9999999
, Requisition: 5556114 RICE, BENJAMIN

DOB: 02/09/1970 AGE: 51
Gender: M

Phone: NG

Patient ID: 03818-068

 

 

Lab Ref#: 271211350

Collected: 10/06/2021 /07:43 CDT
Received: 10/07/2021 / 03:03 CDT

Reported: 10/08/2021 / 19:52 CDT -

 

FCI - SANDSTONE - SST
2300 COUNTY ROAD 29
| SANDSTONE, MN 55072-5161

 

 

Test Name In Range Out Of Range Reference Range Lab
CYSTATIN C WITH eGFR EZ
CYSTATIN C 1.02 0.52-1.23 mg/L
eGFR 79 > OR = 60 mb/min/1.73m2
PERFORMING SITE:
EZ QUEST DIAGNOSTICS/NICHOLS SIC, 33608 ORTEGA HWY, SAN JUAN CAPISTRANO, CA 92675-2042 Laboratory Director: IRINA MARAMICA,MD,PHD,MBA, CLIA: 05D0643352
PAGE | OF 1

CLIENT SERVICES: 866.697.8378

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SPECIMEN: WX862290Q

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Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.70 Filed 03/16/22 Page 45 of 56

FMC Rochester
2110 E. Center Street
Rochester, MN 55904

507-287-0674 .

 

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Name POWELL, WILLIE Facility FCI Sandstone Collected 08/31/2021 09:31 CDT
Reg # 03818-068 Order Unit C01-002L Received 09/01/2021 11:16 CDT
DOB 02/09/1970 Provider Benjamin Rice, MD Reported. 09/01/2021 15:36 CDT
Sex M LISID 203212760

[ CHEMISTRY
Sodium 142 136-145 mmol/L
Potassium 5.0 3.5-5.1 mmol/L
Chloride , 105 98-107 mmol/L
Carbon Dioxide 27 22-29 mmol/L
Urea Nitragen (BUN) 12 6-20 mg/dL
Creatinine H 1.60 0.67-1.17 mg/dL
eGFR (IDMS) 46

GFR units measured as mL/min/1.73m“2.

If African American multiply by 1.210.
A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.

 

 

 

 

Calcium 9.9 8.6-10.0 mg/dL
Glucose 88 74-109 mg/d
AST 30 40-50 U/L
ALT - 31 8-41 U/L
Alkaline Phosphatase 79 49-126 U/L
Bilirubin, Total 1.0 0.1-1.2 ma/dL
Protein, Total 7.2 6.6-8.7 g/dL
Albumin 4.2 3.5-5.2 g/dL
Globulin 3.0 2.0-3.7 g/dL
Albumin/Globulin Ratio 1.40 - 1.00-2.30
Anion Gap 10.0 9.0-19.0
BUN/Creatinine Ratio 7.3 5.0-30.0
Cholesterol, Total 158 <200 mg/dL
Triglycerides 115 <150 mg/dL
HDL Cholesterol L 39 40-60 mg/dL
LDL-Cholesterol 96 <130 mg/db
Chol/HDLC Ratio H 4.1 0.0-4.0
C-Reactive Protein : L <3.0 <5.0 . mg/L
L | SPECIAL CHEMISTRY |
TSH 1.55 0.27-4.20 ulU/mL
L HEMOGLOBIN A1C |
Hemoglobin A1C 5.4 <5.7 %

5.7 - 6.4. Increased Risk
> 6.4 Diabetes

 

FLAG LEGEND L=Low L!=Low Critical H=High H!=High Critical A=Abnormal A! =Abnormal Critica!
Page 1 of 1

 

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.71 Filed 03/16/22 Page 46 of 56

 

FMC Rochester

ypc 2110 E. Center Street
@ Prisons Rochester, MN 55904

 

507-287-0674

* Sensitive But Unclassified ***
Collected 10/06/2021 07:43 CDT

 

 

 

 

Name POWELL, WILLIE. Facility FC! Sandstone
Reg # 03818-068 Order Unit C01-002L Received 10/07/2021 10:50 CDT
DOB 02/09/1970 Provider Benjamin Rice, MD Reported 10/07/2021 11:34 CDT
Sex M ; LIS ID 271211350"
[ CHEMISTRY
Sodium 139 136-145 mmol/L.
Potassium 4.4 3.5-5.1 mmol/L
Chloride 103 98-107 mmol/L
Carbon Dioxide H 30 22-29 mmol/L
Urea Nitrogen (BUN) 11 6-20 mg/dL
Creatinine H 1.57 0.67-1.17, mg/dL.
eGFR (IDMS) ; 47
GFR units measured as mL/min/1.73m42.
\f African American multiply by 1.210.
A calculated GFR <60 suggests chronic kidney disease if found over a3 month period.
Calcium 9.4 8.6-10.0 mg/dL
Glucose 96 74-109 mg/dL
AST 26 10-50 U/L
ALT 23 10-50 U/L
Alkaline Phosphatase 73 49-126 U/L .
Bilirubin, Total H 1.6 0.1-1.2 mg/dL
Protein, Total 6.8 6.6-8.7 g/dL
Albumin 4.2 3.5-5.2 g/dL
Globulin 2.6 2.0-3.7 — g/dL
Albumin/Globulin Ratio 1.62 _ 1.00-2.30
Anion Gap L 6.0 ; 9.0-19.0
BUN/Creatinine Ratio - 7.0 5.0-30.0
Cholesterol, Total 167 . <200 mg/dL
Triglycerides 125 <150 mg/dL
HDL Cholesterol L 39 40-60 mg/dL
LDL-Cholesterol ; 103 <130 mg/dL
Chol/HDLC Ratio H 4.3 0.0-4.0

 

FLAG LEGEND L=Low L!=Low Critical H=High H!=High Critical A=Abnormal A! =Abnormal Critical
, Page 1 of 1

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.72 Filed 03/16/22 Page 47 of 56

DEF. EXH. 4

Powell's Letters of Support

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.73 Filed 03/16/22 Page 48 of 56

Nakia Marbury
4078 Miles Johnson Parkway
Springhill, Tennessee 37174

February 20, 2022
Re: Willie Powell

To: The Honorable Judge Edmund A. Sargus

| have known Willie Powell as a friend now for over 25 years. It troubled me to hear of his incarceration
and case for he has always been a very respectful man. It is for this reason | am privileged to have the
opportunity to write this reference letter on his behalf. | can say I’ve never written such letter before;
therefore, I’d like to thank you for taking your time out of your busy schedule to read this letter of
reference for Willie Powell. | understand the severity of this matter, however, hope the courts will show
compassion when reviewing this case.

Willie Powell has always been a respectful family man. An individual that’s’ devoted to family values
wanting to guide the youth to pursue a better life than what our surrounding environment had to offer.
During the time of our friendship Willie Powell has been a mentor to my two sons’. Listening to their
interests with inspiring them to pursue their dreams, setting goals, with completing the tasks that’s
before them. Ensuring them that life has No easy road to follow but when focusing on dreams to press
forward and not let anyone or anything hinder them. He has encouraged me to stay firm on my son’s
not allowing my sons to give up. It is with our uplifting conversations | was able to push my son into his
law career. He has been an encouraging friend to both me and my family throughout the years
respectful, honest, and trustworthy,

In addition to our friendship, Willie Powell has been an important person in the neighborhood with
mentoring the youth and expressing the need of our young boys becoming men. How they should
respect the men\women in the community regardless of age or color. I’ve heard him speak to a group of
young men, almost lecturing them on the importance of not becoming victims to streets. That their
choices have consequences and the wrong choices may land them in prison for a lifetime with losing
their freedom. It’s unfortunate that he has become a victim to a crime like such. Which | feel now that
years has passed, he understands how important it is for him to be there for his family as well as other
families in the community. How his presence is needed, how if he was around, he could help save a
young person from becoming another number in prison. His absence has left many young people with
questions. Questions only he can answer. Do | feel Willie Powell can make a difference in the lives of our
youth, yes, | do? | feel his presence is needed and can help change the perspective of our youth.
Throughout his time of incarceration, the remorse he has shared with me in the time spent away has
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.74 Filed 03/16/22 Page 49 of 56

made him a different man. Different in a way where he has been grieved and willing to do what is right
to be a part of the lives of the individuals who love and care about him.

| sincerely hope the court take this letter of reference into consideration when reviewing this case.
Despite the current case | truly believe Willie Powell is an honorable person, a well-respected person in
his family, a valuable person to the youth and a good loving caring person.

incerely,

    

 
or O'¢2 |
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.75 Filed oa/6/22 bake oo ose é — |

2b whim Dt Mag Cnterg |

 

ZL Gm sinter y WryHag M
bende O}+ Wri ]ie. (b. Fist LAL had been
Muy Doerr frienk Fw almost Yer | Ydw,
THenk yo frthe apportunty oF Veen

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The man rad ha hes beaane. In Yhis
Lruncititah feusin L gm ser YWLre
Vaank bt fur, VUVve rd ets tents , WA fr
Pry Pod + gt@..

Wr /{_ Neg gh aS been 0 Genk”
father, une , up FremA; Joy al a helpret
‘man. Will tomes From 4 gad up brngias
With. fy h Ltn dirtlhg , Wire tkhies » pad

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Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.76 Filed 03/16/22 Page 51 of 56

 

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Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.77 Filed 03/16/22 Page 52 of 56

February 25, 2022
Judge Edmund A. Sargus

Hi, I am writing in reference to Willie Powell (03818068).
I’ve known him for 22 years or more. He has always been a
thoughtful caring person. Will is the kind of person that would
give the shirt off his back for others. He has always been a
person who has a lot of self-control when it came to getting
angry with others. I’ve never seen him get violent in the years I
have known him. In my opinions he is no threat to society. I feel
he would do better out here with his children then he would do
in prison. They need they’re father and I do feel he has learned
his lesson. He is a nonviolent offender and has served over 12
years. I know he has made some bad decisions in his life and
that’s the reason he is there, but I truly believe he has own up to
his mistake and will make better decisions in the future. A
honest caring man like Willie Powell should have another
chance to enter back into society to finish watching his children
and grandchildren grow up. I believe he is ready to get out in the
world and live like a model citizen and get a job and go to work
every day. Thanks for hearing me out.
Sincerely,
Lasharon France

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.78 Filed 03/16/22 Page 53 of 56

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

 

WILLIE G. POWELL, Case No. 2:07-cr-193
Defendant,
DEFENDANT'S SUPPLEMENTAL
BRIEF IN SUPPORT TO MODIFY
SENTENCE OF IMPRISONMENT

Vv.

UNITED STATES OF AMERICA,

Ne a Need Se ee ee

Plaintiff.

 

COMES NOW, the defendant Willie G. Powell (hereinafter "Powell")
by and through pro s e representation submits this supplemental brief
in support of his motion to modify his sentence pursuant to Title 18
U.S.C. § 3582(c). In support, Powell provides the following.

Inadvertently, Powell failed to list his State 2 Kidney Disease
as one of his co-morbidities in his motion and memorandum in support
to modify his sentence of imprisonment. Many federal district courts
including this court, have held that defendant's can demonstrate
"extraordinary and compelling reasons" for compassionate release
under § 3582(c)(A)(1)(i) if they show (1) their health conditions put
them at an increased risk of severe COVID-19 symptoms and 92) they are

at risk of infections. See United States v. Lemons, F.4th )

 

2021 U.S. App. LEXIS 30267, 2021 WL 4699249, at 3 (6th Cir. Oct.
8, 2021), and United States v. Elias, 984, F.3d 516, 518 (6th Cir.

 

2021).

Here, when combining Powell's Stage 2 Kidney disease in ag-
gregate with his hypertension, Powell has a weakended immune system,
and as a_ result may not be protected from developing a serious il-

Iness if he were to contract COVID-19 a second time even as Powell is

 
 

Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.79 Filed 03/16/22 Page 54 of 56

fully vaccinated. See People with Certain Medical Conditions,
Centers for Disease Control and Prevention, https://www/cdc/gov/
coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.htnl. See DEF. EXH. 3 - Powell's Medical Records.

Lastly, while Court's have not taken a defendant's race, gen-
der, and substance use disorders into account as commonly. Here,
however, it is appropriate to consider those factors when consider-
ing the following study: Eboni G. Price-Haywood, et atl., Hospi-

talization and Mortality among Black Patients and White Patients

 

COVID-19, 382 N. Engl. J. Med. 2534 (June 2020). Said study of

12,000 COVID-19 patients concluded that patients who, like Powell,
are African American and have a history of substance abuse, are

more likely to be hospitalized and suffer a fatal infection. Those
with substance use disorders were almost 50% more likely to die
from their illness and about 30% more likely to be hospitalized
compared to those who do not use substances. Moreover, in the same
study, African Americans with substance use and COVID-19 were about
50% more likely to die from COVID-19 and almost 60% more likely to
be hospitalized compared to Caucasian subjects with substance use

disorder Id at 4 (citing Quan Qiu Wang, et al., COVID-19 Risk Out-

 

comes in Patients with Substance Use Disorders: Analyses from Elec-

 

tronic Health Records in the United States, 26, Mol Psychiatry 30
(2021).

While the CDC does not recognize race as a “high risk" factor
for serious illness resulting from COVID-19, the CDC does recognize
"some racial and ethnic minority groups are disproportionally affect-
ed by COVID-19," U.S. Centers for Disease Control and Prevention,
Introduction to COVID-19 Racial and Ethnic Health Disparities (Dec.

10, 2020). Powell is African-American.

 
Case 2:07-cr-20440-GER-MKM ECF No. 7, PagelD.80 Filed 03/16/22 Page 55 of 56

Accordignly, when combined with Powell's other co-morbidities
and other arguments, the court must and should determine that
Powell has deomonstrated "extraordinary and compelling" reasons in
support of a s entence modification.

Dated: March 15, 2022

Respectfully submitted,

 

Willie G. Powell

Reg. No. 03818-068
FCI-Sandstone C-Unit
P.O. Box 1000
Sandstone, MN 55072

Certificate of Service

 

I aver that I mailed this document to the Clerk of Court
by placing said document into a prepaid envelope and deposited
said envelope into the inmate mail system at FCI-Sandstone.

Dated: March 15, 2022

BY:

 

Willie G. Powell

 
 

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Case 2:07-cr-20440-GER

 

 
